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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION



   UNITED STATES OF AMERICA, et al.,

                  Plaintiff,

          v.                                            No. 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,

                  Defendant.



           NON-PARTY CHRISTOPHER LASALA’S MOTION TO QUASH
     PLAINTIFFS’ TRIAL SUBPOENA AND MOTION FOR A PROTECTIVE ORDER

         PLEASE TAKE NOTICE that non-party Christopher LaSala moves to quash Plaintiffs’

  trial subpoena pursuant to Federal Rule of Civil Procedure 45(d)(3) and for a protective order

  preventing Plaintiffs from seeking to compel his testimony at trial pursuant to Federal Rule of

  Civil Procedure 26(c). The grounds for this motion are set forth in an accompanying

  memorandum of law. A proposed order is attached.
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   Dated: August 23, 2024               Respectfully submitted


                                        /s/ Andrew George

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